






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00823-CV







Shang-Chi-Abdiel Yahoshua, Appellant



v.



Texas Department of Public Safety, Appellee








FROM THE COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY

NO. 278740, HONORABLE CHARLES F. CAMPBELL, JR., JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Yahoshua, pro se, filed her notice of appeal on December 22, 2004.  The clerk's
record was filed on March 23, 2005.  On April 28, this Court sent Yahoshua notice that her brief was
overdue and that the appeal would be dismissed if she did not file a motion for an extension of time
or respond by May 9.  On May 10, Yahoshua filed a motion for extension of time, which we granted,
making her brief due on May 25.  On May 24th, Yahoshua requested and received a second
extension to file her brief by June 27.  We notified her that no further extensions would be granted. 
	On June 19, this Court again notified Yahoshua that her brief was overdue, and
requested a response by June 29.  To date, Yahoshua has not filed a motion or brief or otherwise
responded to this Court's June 19th communication.  We therefore dismiss the appeal for want of
prosecution on our own motion.  Tex. R. App. P. 42.3(b).



					                                                                                    

					Bob Pemberton, Justice

Before Chief Justice Law, Justices B. A. Smith and Pemberton

Dismissed for Want of Prosecution

Filed:   August 31, 2005






